              Case 2:25-cv-00241-BHS                 Document 55                Filed 03/03/25           Page 1 of 6




 1                                                                   THE HONORABLE BENJAMIN H. SETTLE

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                                      UNITED STATES DISTRICT COURT
 7                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
 8

 9    COMMANDER EMILY SHILLING, et al.,                                   No. 2:25-cv-241-BHS

10                     Plaintiffs,                                        STIPULATED MOTION TO FILE
                                                                          AMENDED COMPLAINT AND
11            v.                                                          SUPPLEMENTAL PRELIMINARY
                                                                          INJUNCTION BRIEFING; AMEND
12    DONALD J. TRUMP, in his official capacity as                        BRIEFING SCHEDULE; AND SET
      President of the United States, et al.,                             PRELIMINARY INJUNCTION
13                                                                        MOTION FOR A HEARING
                       Defendants.
14                                                                        NOTE ON MOTION CALENDAR:
                                                                          March 3, 2025
15

16            By way of this Stipulated Motion, Plaintiffs and Defendants (collectively, “Parties”), by
17   and through their undersigned counsel, respectfully request an order (1) granting Plaintiffs leave
18   to file an Amended Complaint 1 and Supplement to their Motion for Preliminary Injunction on or
19   before March 4, 2025; and (2) granting Defendants until March 14, 2025 to file their Opposition
20   to Plaintiffs’ Motion for Preliminary Injunction and the Supplement thereto. Plaintiffs further
21   request that the Court set a hearing on Plaintiffs’ Motion for Preliminary Injunction sufficiently
22   in advance of March 27, 2025, such that the Court may issue its order on or before that date.
23   Defendants defer to the Court as to whether to hold a hearing . This Stipulated Motion is noted
24   for same day consideration pursuant to W.D. Wash. LCR 7(d)(1).
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               At this juncture, Plaintiffs are entitled to amend as a matter of course under Federal Rule of Civil Procedure
26
     15(a)(1) because no responsive pleading or motion has been filed in relation to the original complaint.
      STIPULATED MOTION TO                            Perkins Coie LLP            Lambda Legal Defense and         Human Rights Campaign
                                               1201 Third Avenue, Suite 4900         Education Fund, Inc.                Foundation
      FILE AMENDED COMPLAINT                   Seattle, Washington 98101-3099      120 Wall Street, 19th Floor   1640 Rhode Island Avenue NW
      CASE NO. 2:25-CV-241-BHS                       Phone: 206.359.8000          New York, NY. 10005-3919          Washington, D.C. 20036
                                                      Fax: 206.359.9000             Telephone: 212-809-8585        Telephone: (202) 568-5762
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 1          Plaintiffs filed their Complaint [Dkt. No. 1] on February 6, 2025. On February 19, 2025,
 2   Plaintiffs filed their Motion for Preliminary Injunction [Dkt. No. 23] (the “Motion”). The Motion
 3   is currently noted for consideration on March 19, 2025. Under the default schedule established
 4   by this Court’s Local Rules for civil cases, Defendants’ Opposition Brief is currently due on or
 5   before March 12, 2025, and Plaintiffs’ Reply Brief is due on or before March 19, 2025. For
 6   reasons explained below, good cause exists to grant the Parties’ requested relief regarding
 7   amending the briefing scheduling and hearing date related to the Motion.
 8          First, good cause exists for Plaintiffs to file an Amended Complaint and Supplement to
 9   their Motion for Preliminary Injunction. On February 26, 2025, the Department of Defense (the
10   “DoD”) issued guidance entitled “Additional Guidance on Prioritizing Military Excellence and
11   Readiness” (the “Guidance,” attached hereto as Exhibit A). The Guidance explains how the
12   DoD will implement the Executive Order centrally at issue in this case, Executive Order 14183,
13   “Prioritizing Military Excellence and Readiness” (the “E.O.”). Among other things, the
14   Guidance states that “[w]ithin 30 days” the DoD will “identify Service members who have a
15   current diagnosis or history of, or exhibit symptoms consistent with, gender dysphoria.” Exhibit
16   A § 3.4(e). The Guidance further states that “[w]ithin 30 days of identification pursuant to
17   section 3.4(e),” the Secretaries of the Military Departments will “begin separation actions, in
18   accordance with section 4.4 of this attachment.” Id. § 3.4(f). On February 28, 2025, the DoD
19   issued clarifying guidance stating that “DoD personnel shall take no action to identify Service
20   members pursuant to the [Guidance] until March 26, 2025” and that the DoD “will provide
21   additional guidance prior to March 26, 2025, concerning identification processes and
22   procedures.” Exhibit B at 1.
23          Because the Guidance is directly related to the E.O., the Parties agree that Plaintiffs will
24   amend their Complaint and Supplement their Preliminary Injunction Motion to address it.
25   Plaintiffs will file both submissions no later than March 4, 2025.
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 1          Second, the Parties further agree that Defendants shall have up to and including March
 2   14, 2025, to file their Opposition to Plaintiffs’ Motion for Preliminary Injunction, which will
 3   address Plaintiffs’ original Motion and the Supplement. Good cause exists to amend the deadline
 4   for the Opposition Brief by two days such that Defendants may have time to address Plaintiffs’
 5   additional briefing, and due to the press of Defendants’ case load. This extension of time will not
 6   affect the deadline for Plaintiffs’ Reply Brief in Support of their Motion for Preliminary
 7   Injunction, which remains due on or before March 19, 2025.
 8          Therefore, the Parties propose and stipulate to the following schedule regarding
 9   Plaintiffs’ Complaint and Motion for Preliminary Injunction:
10              1. Plaintiffs will file an Amended Complaint and a Supplemental Brief in Support of
11                  the Motion for Preliminary Injunction on or before March 4, 2025;
12              2. Defendants will file their Brief in Opposition to Plaintiffs’ Motion for Preliminary
13                  Injunction on or before March 14, 2025;
14              3. Plaintiffs will file a Reply Brief in Support of their Motion for Preliminary
15                  Injunction on or before March 19, 2025.
16          Plaintiffs respectfully request that this Court set a hearing on the Motion for
17   Preliminary Injunction sufficiently in advance of March 26, 2025, such that the Court may
18   issue its order on or before that date, giving the Court an opportunity to maintain the status quo.
19   Defendants defer to the Court as to whether to hold a hearing .
20          There have been no prior extensions requested by the Parties. The Parties agree that
21   neither party will suffer any prejudice if the Court grants the relief requested herein.
22          It is so stipulated, by and between the Parties.
23   Pursuant to W.D. Wash. LCR 7(e)(6), I certify that this memorandum contains 775 words, in
24   compliance with the Local Civil Rules.
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